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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 CLARKSBURG

   CYNTHIA D. PAJAK,

              Plaintiff,

   v.                                      CIVIL ACTION NO. 1:19-CV-160
                                                     (KLEEH)

   UNDER ARMOUR, INC.,
   UNDER ARMOUR RETAIL, INC.,
   and BRIAN BOUCHER,

              Defendants.


                                      ORDER

        The parties filed a joint stipulation to amend pleadings and

   withdraw a motion. ECF No. 952. Pursuant to the Local Rules, joint

   stipulation, and Rule 15(a)(2) of the Federal Rules of Civil

   Procedure, the Court ADOPTS the joint stipulation and Plaintiff’s

   claims for intentional spoliation as asserted in the fifth and

   sixth causes of action in the Amended Complaint are hereby deemed

   WITHDRAWN. Likewise, the Renewed Motion for Adverse Jury Inference

   Instruction [ECF No. 902] is hereby deemed WITHDRAWN.

        It is so ORDERED.

        The Court directs the Clerk to transmit copies of this Order

   to counsel of record.

        DATED: June 6, 2023

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                                      THOMAS S. KLEEH, CHIEF JUDGE
                                      NORTHERN DISTRICT OF WEST VIRGINIA
